         Case 1:10-cv-02820-JSR   Document 30       Filed 11/02/10              Page 1 of 1



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
            -- -- -- ---------------- x
NATIONAL CASUALTY COMPANY,

                  Plaintiff,

                  -v-                                           10 Civ. 2820 (JSR)

AMERICAN SAFETY CASUALTY INSURANCE                                             ORDER
COMPANY, CITY WASTE SERVICES OF NEW                                                                      .-.-..     '----~




YORK, INC., and JOEL LOPEZ,                                                               ."...   ... .-...   ",­   "-.


                  Defendants.
     ----- --    - -- -- ----- ----- --         x
                                                        ; 1 \
JED S. RAKOFF, U.S.D.J.                                          .   '~,~,




         Pending before the Court is the motion of defendant American

Safety Casualty Insurance Company ("American Safety") to dismiss the

Complaint.    After full consideration of the part                           s' briefs and oral

argument, the Court hereby grants the motion in its entirety.

However, final judgment dismissing the Complaint as to American Safety

will not be entered until the Court issues an Opinion setting forth

the reasons for this ruling.       In the interim, further proceedings in

the case are stayed as to defendant American Safety.

         SO ORDERED.




Dated:   New York, New York
         November~, 2010
